Probation Form No. 35                                  Report and Order Terminating Probation /
(1/92)                                                                        Supervised Release
                                                                Prior to Original Expiration Date
                               UNITED STATES DISTRICT COURT
                                             for the
                                Western District Of North Carolina


UNITED STATES OF AMERICA

                    Vs.

Steven Wayne Cates
Docket No: 0419 2:03CR00064-005



        On 4/7/2006 the above named was placed on Supervised Release for a period of 36 months.
The offender has complied with the rules and regulations of Supervised Release and is no longer in
need of supervision. It is accordingly recommended that Steven Waynes Cates be discharged from
supervision.


                                               Respectfully submitted,


                                               s/ Mark Corbin
                                               Mark Corbin
                                               U.S. Probation Officer


                                    ORDER OF THE COURT

        Pursuant to the above report, it is ordered that the defendant be discharged from Probation and
that the proceedings in the case be terminated.

                                                   Signed: July 2, 2008




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